Case 0:10-cv-62264-RNS Document 488 Entered on FLSD Docket 05/10/2012 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.: 10-62264-Civ-SCOLA

  JAMES D. SALLAH, as Receiver
  for MRT LLC and MRT Holdings LLC,

         Plaintiff,
  vs.

  WORLDWIDE CLEARING LLC, et al.

        Defendants.
  ____________________________________/
                          ORDER DENYING MOTION TO DISMISS
         THIS MATTER is before the Court on Defendant David Morton’s Motion to Dismiss For
  Failure to State a Cause of Action (ECF No. 336). First, Defendant Morton’s Motion to Dismiss
  is procedurally improper because Defendant Morton has previously filed an Answer to the
  Plaintiff’s Amended Complaint. (Answer, ECF No. 83.) The defense of “failure to state a claim
  upon which relief can be granted” may only be raised in a pleading, in a motion for judgment on
  the pleadings, or at trial. Fed. R. Civ. P. 12(h)(2). Second, Defendant Morton’s Motion to
  Dismiss fails for the reasons explained by this Court in its previous Omnibus Order Denying
  Defendants’ Motions to Dismiss (ECF No. 337). That Order addresses each of the arguments
  presented by Defendant Morton in the pending Motion to Dismiss.
         Having considered the motion, the record, and the relevant legal authorities, and for the
  reasons explained here and in this Court’s Omnibus Order (ECF No. 337) it is ORDERED and
  ADJUDGED that David Morton’s Motion to Dismiss is DENIED.
         DONE and ORDERED in chambers, at Miami, Florida, on May 9, 2012.


                                                     ___________________________________
                                                     ROBERT N. SCOLA, JR.
                                                     UNITED STATES DISTRICT JUDGE

  Copies to:
  All Counsel of Record
  All Pro Se Parties of Record
